Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.7 Filed 10/25/23 Page 1 of 24




        EXHIBIT A
          Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.8 Filed 10/25/23 Page 2 of 24

                                                                      Qriginaf.- Coiirt                                           2nc(;copy - Plaintiff.
  Approved, SCAO.                                                     ;1st copy - pefandanl.                                      3rd copy-.Relurn

         `STATE I        MICHIGAN                                                                                                     CASE NO:
                          Jtt01G(AL'D(STRfCT
18T1-i                     .iuDIctAL•CirculT                               suMlvioNs
                                                                                                                                                   JOSEPI-I K. sHEERAN
BAY                                   COUNTY                                                                         Case" Tj~ie: GZ                       Pfk 26575
                                                                                                                                                 CourF telephone no.
Bay Cou.nty .Court.Facility; 1230'Washington Ave, Suite 725, Bay City, MI 48705=5737                                                            (989) $95-42 G5
                                                                                           Defendant'snaine; ,adcJress,-an.d telephorieno.
 Diane Ba}icock                                                                             'UVells Far o.T3arik, Natioilal Association
 2057 E Almeda.Beach Rd                                                                    420 t.ontgon~e.ry, Street
 Pinconntiig;, MT 4tifi5,Q                                                                  San Franciscii,, CA 94104.
 (5:13) 332=7441                                                                            Tel: 1, t;g0-8(9-3557

f'tainutrs a?torney, par no.,:aqrlress; ano>teiephone.no.
Law'Gffices of Robert S. Gitmeid & Assoc.;;PLLC
1e...n.ri.ifer Pai(lon, Esq: tP30284)
30790 Valley Drivt
Pannington I-Iills; IvII.4833.4
 Tel::,(734) 904-9522
Insfrucbons;.Check tfie itenis fte(ow that appfy to you and provide anyroquired information, Subrti'rt tiiis°io~rri to ttia courf clerk alongavith your. cornplaint and;
if_nec,es,sary;-a:case iriventory addendum (fv1C.21). The summon5 sectio.n vtiil be completed.by thp court cierk.

Domestic Relations Case.
11- Ther.e are no pendtny or resofved cases within thejurisdiction of, the famiiydivision of the circuit court invofving the famiiy or
     family members.ofthe persan(s) who are the subject of t.he complaint.
[.:;There is. one or, more pending or resolved cases wiihin thejurisdiction of.tlie family.division of the circuit Court:invol"ving
    :the famPy or famliy me►2ibers of the persan(s). who are the;su6lect of the complaint. I have.separately filed a completed
    confidenti.al ca.se iriventory (MC 21),Iisting those cases..
❑ 1t:is usiknown;if there are pending or resolved cases: wtthin the jurisdiction of the family clivision. of the circuit,c.ourt involving.
    the farnily or family metiibers o.f the persorn(s) who are the.sul3jectof the :con.iplaint.

 Civil: Case
Cl This is: a business case in which ali or part of the::action includes a business or cortimercial dispu te under MCL 600:8035.
L~'MDH.HS 0nd.°a contracted 1%ealth plan mayfiave a=right to recover.expenses:in this.,case. I"c.ertify thatnotice and a copy of
   the complaint will.be:,provided to MDHHS and: (if appficable) the contracted health pian in accordance uyith IVl_CI_ 40.0..'106(4),.
~ There is no other pending or resolved, civif action arising out: of khe: same tranaaction or occurrence as alleged in. the
r;.
    ,compCaint,
[~;A civi.i action between.:these part+es or other parti4s:ar'ising o.ut of the. trattsaction. or occur"r.ence alleged in the complaint has

    been previously,fiie'd in Q:th'ts: court; L~                                                                                                       Cou.rt; where

    it.was given case.number                                               and,assigned to.Judge.

    The aetio            .r.e.mains 0 is no longer pending.

 Summons section complefed::by.courtclerk             7.                   SUMIUIONS
                     ,
 NOTICE TO:THE D1=F.ENDANT. In the.name
                                  a     of the people. of',tlie State of tv9ichigan you are notified:
 1_..,You are being'sued.                _
-2. :YOU HAVE 21:13A`(S,after rec,.eivirig this:summons and a.copy of the .complaitit to fiile
                                                                                               a writte.n answer with the court
     and serve a copy on the other party or take other Lawi`ui action with the court (28, da;ys if you,Were served by mail or you
     were served outside:.of Michi.gan)..
 3: .If;yo.0 do not a.riswer or take other:acti.on within the aime'aifovred, judgment,ma.y. be.entered against you for the.relief
     demartided in the co,mpiaint:
 4. If,you require. accomrnoclatioris to use.:the.court because of, a:disability or if. you require a foreign la.nguage. interpreter
    to help you fully participate,rri court proceedings, please contact the courf'immediately to make arrangements.
Iissue,oate                            txptra     [t                            na
                                                                             luouerK
          ~.                                 l oi U ~ ~' I~~
                                              or

Mc 01 `(.3/231, ,SI;IMM,ONS                                                                    MCR.1:10rJ(D), MCR 2.102(E3), MCR 2.1o3.:MCR 2:.104, MCR 2.105
       Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.9 Filed 10/25/23 Page 3 of 24




                                                                                                              23-3594-CZ
Summons (3123)                                                                                     Case No.



                                                     PR.00F OF SERVICE

TO PROCESS SERVER: You must serve the summons and compiaint and fife proof of service with the court cierk before
the expi.ration date on the summons. If you are unabie to compiete service, you must return .this original and all copies to
the court cierk.

                                         CERTIFICATE OF SERVICE / NONSERVICE

Q I served   D personally       ❑ by registered or certified mail, return receipt requested, and defivery restricted to the
  the addressee (copy of return receipt attached) a copy of the summons and the compiaint, togetherwith the
  attachments listed befow, on:

Cl I have attempted toserve a copy of the summons and compiaint, together with the attachrnents listed befow, and' have
   been.unabie to compiete service on:




       or




111 am a sheriff, deputy sheriff, baiiiff, appointed court officer or attorney for a party.

❑ .1 am a legally competent aduit..who is not a party or an officer of a corporate party, I deciare under the penaities of
   perjury that this certificate of service has been axamined by me and that its contents are true to the best of my
   informat'ion, knowiedge, and befief:

                                                                                Signature

                                                                                Name. (type or print)




                                             ACKNOWLEDGMENT OF SERVICE

I acknowiedge that I have received service of a copy of the summons and compiaint, together with

                                                                              on
 Attachments (if any)                                                              Date and time


                                                               on behaif of
Signature

Naine (type or print)




MCL 600:1910; MCR 2.104, MCR 2:105
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.10 Filed 10/25/23 Page 4 of 24




        STATE OF MICHIGAN                                                                             CASE NO.
             JUDICIAL DISTRICT .                                           Case Type: CZ
 lgTH          JUDICIAL CIRCUIT              JURY DEMAND
                          COUNTY                                           Case No. 23-3594-CZ
 BAy
 Court address                                                                              Courttelephone no.
 Bay County Court Facility,1230 Washington Ave, Suite 725, Bay City,lvlI 48708-5737      (989) 895-4265
 Plainfiff(s) name(s)                                                  Defendant(s) name(s)
  Diane Babcock                                                    v   Wells Fargo Bank, National Association, et al.
 Plaintitrs address and telephone no. or attomey name, 'bar no.,       Defendant's address and telephone no, or attomey name, bar
 address, and telephone.no.                                            no„ address, and tefephone no.
  Law Offices of Robert S. Gitmeid &.Assoc., pLLC                      Wells Fargo Bank, National Association
  Jennifer Paillon,'Esq. (P80284).                                     420 Montgomery Street
  30790 Valley Driv,e, Farmington.Hills, MI 48334                      San Francisco, CA 941'04
  Tel: (734) 9.04-9.522                                                Tel: 1-800-869-3557


  ElProbate             In the matter of'

  El Juvenile           In the matter of




  1. 1 demand a jury trial.


                                                                          lyl
  08/04/2023
 Date                                                                  Signalure




  Second Defendant:

  Equifax Information Services, LLC
  1550 Peachtree Street N.W.
  Atlanta, GA 30309
  Tel: (888) 202-4025




  Approved, SCAO                                                         Fonn Distribution:
  Form MC 22, Rev. 4/19                                                  Original - Court
  MCL 600.857(3), MCL 600:2529(1)(c),                                    1sf copy - Plaintiff/Petitioner
 .MCR 2.508, MCR 2.509, MCR 3.911                                        2nd copy - Defendant/Respondent
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.11 Filed 10/25/23 Page 5 of 24




                                                                        ... .
                                      STATE OF IVIICHI.GAN
                                 'EIGHTEENTI-I JUTAIC.IAL CIRCUIT
                        IN TTIE.CIRCUIT COUJiT FOR TtIE COUNTY t3F'BAX
                                                                                                ..
          , ..,
                                                                                                .,
                                                                                                c~,'~.:.
   D1~1NE BABCOCK,                                                              CaseNo:

                        Plaintiff,                                              Hori.     JOSEPN K,.SNEERAt1
                                                                                               ptl 28575

   vs..                                                                         Jury Deiliand

   WELLS FARGO BANK, NATIQNAL.                                                  Case Filing Type: CZ
   ASSOCIATION and EQUIFAX `INFORMAT1ON
   SERVICES;'LLC;,

                         Defendallts.


   Jenni' r Paillon, Esq. (P80284).
    LAW OFFICES OFi ROBERT S: GITMEZD
   &,ASSOCIATES, PLI;C
    30790' Valley T)rive
   Farmingtoii Hills, MI 483;34
   'tel; (734) 904-9522
   .Fax: (734) 547-6166
    I;mail: Jenn"ifer:P@gitiriei'dlau,.com.
    AttorneJ~sfoi Plaintrff1~f.i~~7e Babcock


                                                    COIVIPLAINT
                                         ,
                   Tliere, is: no other civil actioii lietweeri these: pai~ties ar'tsing out. of the sanie
                  transaction or.o.ccurreiice as al:leged in.tliis Complaint pending:in tliis Court,,
                   nor Iias:any siic3i actiori been,;prcviously filed~antl:dismissed or. transferred_
                                        :after hav'iiig been assigne,d to a judge.


                                                                                                           tlirougli her
                  NOW COIv1ES I?laintiff, Diane Babcock (Ilereiriafter "Plaiiitiffl'), by and

    attorrieys;;the Law .Offices' of Robert S. Critmeid & ASsoeiaties, PLLC, by way of Gomplainfi
                                                                                                     "Wells Fargo")
    against Defendants; Wells Fargo' Bank, National Association (liereinafter
                                                                                                     "Defendants"),
    and Equ'ifa:c,lnforinalion SerVices, LLC`.(Irereinafter "EquifaX") ;(collectivcly

    and hereby alleges as follows":
    Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.12 Filed 10/25/23 Page 6 of 24
                                       1
.                               l




                                           INTRODUCTION
                                                                                          mer for
            1. This is an action for damages brought by an individual consu
                                                                                       , § 1681, et
                Defendants' violations of the Fair Credit Reporting Act, 15 U.S.C
                                                                                         t reporting
                seq. (hereinaffter "FCRA"), and other claims related to unlawful credi
                                                                                 reporting agencies
                practices. The FCRA prohibits cred'tt furnishers and consumer
                                                                                  urately reporting
                (hereinafter "CRA" .or "CRAs") from falsely and inacc

                consumers' credit information.
                                              PARTIES

                                                                          domiciled in Pinconn.ing,
             2. Plaintiff is an adult citizen of the State of Michigan,

                Bay Courity, Iviichigan.
                                                                    1681a(c)    of the FCRA.
             3.. Plaintiff is a"consumer" as defined by 15 U.S.C. §
                                                                    company and "fiunisher" of
             4. Wells Fargo is a multinational financial services
                                                                           U.S.C. § 1681s-2 of the
                 consumer credit :information as that tenn is used in 15

                 FCRA.
                                                                          of Michigan and regularly
             5. Wells Fargo is qualified to do business in the State

                 conducts business in the State of Michigan.
                                                                    engages in the business of
             6. Equifax is a limited liability company that
                                                                             Equifax is a"consumer
                 maintaining and reporting consumer credit information.
                                                                             the FCRA.
                 reporting agency" as defined by 15 U.S.C. § 1681a(f) of
                                                                       of Michigan and regularly
              7. Equifax is qualified to do business in the State
                                                                                the largest CRAs in
                  conducts business iri the State of Michigan. Equifax is one

                  the world.




                                                     2
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.13 Filed 10/25/23 Page 7 of 24

                           ~



                               JURISDICTION AND VENUE
                                                                        amount in controversy
        8. Jurisdiction is proper pursuant to MCL § 600.605 as the
                                                                        in this Court's subject
           in this action exceeds $25,000.00 and is otherwise with

           matter jurisdiction.
                                                                    § 600.1621 as Plaintiff is
        9. Venue is proper in. this Court pursuant to MCL
                                                                     conduct business in Bay
            domiciled in Bay County, Michigan;. Defendants
                                                                     ed of herein occurred in
            County, Michigan; and the wrongful acts complain
                                                                   Michigan.
            whole or in part within the confines of Bay County,

                                  FACTUAL ALLEGATIONS
                                                      endi   ng in 5213 to Plaintiff and her
         10.Wells Fargo issued a joint credit account
                                                    routinely reported on             Plaintiffs
            spouse, Craig .Babcock. The account was

            consumer credit report..
                                                    en        communication of information
         11.The consumer report at issue is a writt
                                                         credit standing, credit capacity,
             con.cerning Plaintiff s credit worthiness,
                                                               istics, and/or mode of living
             character; general reputation, personal character
                                                           as a factor in establishing the
             which is used for the purpose of serving
                                                                arily for personal, family, or
             consumer's eligibility for credit to be used prim
                                                                    a(d)(1) of the FCRA.
             household purposes as defined by 15 U.S.C. § 1681
                                                         Wells :Fargo entered into a settlement
          12.On or about July ,24, 2021, Plaintiff and
                                                                     of the settlement agreement
             agreement for the above-referenced account. A copy

             is attached hereto as Exhibit A.
                                                            tiff   was required to make monthly
          13.Pursuant to the terms of the settlement, Plain
                                                                      ls Fargo account.
              payments totaling $449.14 to settle and close her Wel
                                                           tive,      timely made the requisite
          14.PlaintifP, via her debt settlement representa
                                                3
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.14 Filed 10/25/23 Page 8 of 24
                                    c
                            a




           settlement payments.
                                                                                   nued to be
        15.However, months later, Plaintiff s Wells Fargo account conti

            negatively reported..
                                                                              ,         Plaintiff's
        16.In particular, on a requested credit report dated January 12, 2023
                                                                             E OFF," a balance
            Wells Fargo account was reported with a status of "CHARG
                                                                            relevant portion of
            of $1,122.00, and a past due balance of $1,122.00. The
                                                                           Exhibit B.
            Plaintiffs.January 2023 credit report is attached hereto as
                                                                ly repor   ted. As evidenced by
         17.This tradeline was, and continues to be, inaccurate
                                                                          account was settled for
            the enclosed settlement documents and information, the
                                                                   "settled" with a balance of
            less than the full balance and must be reported as

             $0.00.
                                                                  notified Equifax directly of a
         18.On. or about June 20, 2023, Plaintiff, via counsel,
                                                                  reporting of Plaintiff s Wells
             dispute with completeness and/or accuracy of the
                                                                          is attached hereto as
             Fargo account. A copy of Plaintiff.'s dispute letter

             Exhibit C.
                                                          the       derogatory and inaccurate
         19.Therefore, Plaintiff disputed the accuracy of
                                                                    certified mail in accordance
             information reported by Wells Fargo to Equifax via

             with 15 U.S.C. § 1681i of the FCRA.
                                                                     ts for review. The tradeline
          20: In July 2023, Plaintiff requested updated credit repor
                                                                              Defendants failed to
              for Plaintiff's Wells Fargo account remained inaccurate as
                                                                           July 2023 credit report
              correct the inaccuracy. The relevant portion of Plaintiffs

              is attached hereto as Exhibit D.
                                                                            s Fargo of the dispute
          21. Upon information and belief, Equifax did not notify Well

              by Plaintiff in accordance with the FCRA.
                                                 4
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.15 Filed 10/25/23 Page 9 of 24




        22.Alternatively, Equifax did notify Wells Fargo of the dispute by Plaintiff, but

            Wells Fargo failed to properly investigate and delete the tradeline at issue, or

            failed to properly update the tradeline on Plaintiff s credit reports..

         23.If Wells Fargo had performed a reasonable investigation of Plaintiff s dispute,

            Plaintiff s Wells Fargo account would have been updated to reflect a"settled"

            status with a balance of $0.00.

         24.Despite the fact that Wells Fargo has promised thfough its subscriber agreements

            and/or contracts to accurately update accounts, Wells Fargo has nonetheless

            willfully, maliciously, recklessly, wantonly, and/or negligently failed to follow

            this requirement as well as the requirements set forth under the FCR.A, which

            has resulted in the intended consequences of this infonmation remaining on

            Plaintiff s credit reports.

         25.Defendants failed to properly maintain and failed to follow reasonable.

            procedures to assure maximum possible accuracy of PlaintifFs credit

            information and credit reports, concerning the account in question, thus violating

            tfie FCRA. These violations occurred before, during, and after the dispute.

             process began.

         26.At all times pertinent hereto, Defendants were acting by and through their

             agents, servants and/or employees, who were acting within the scope and course

             of their employment, and under the direct supervision and control of the

             Defendants herein.

         27: At all tinies pertinent hereto, the conduct of Defendants, as well as that of their

             agents, servants and/or employees, was malicious, intentional, willful, reckless,

             negligent and/or in wanton disregard for federal law and the rights of the
                                                 ,5
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.16 Filed 10/25/23 Page 10 of 24




            Plaintiff herein.

                                     CAUSE OF ACTION
                                FAIR CREDIT REPORTING ACT

         28. Plaintiff reasserts and incorporates herein by reference all facts and allegations

             set forth above.

         29. Equifax is a"consumer reporting agency," as codified at 15 U.S.C. § 1681a(f).
                                                                                             f to
         30.Wells Fargo is reporting inaccurate credit information concerning Plaintif

             one or more eredit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.

         31. Plaintiff notified Defendants of a dispute on the subject account's completeness

             and/or accuracy, as reported.
                                                                                             and
         32.Wells Fargo failed to complete an investigation of Plaintiff s written dispute

             provide the results of an investigation to Plaintiff and the credit bureaus within

             the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).
                                                                                          fs
          33.Wells Fargo failed to promptly correct the inaccurate information on Plaintif

             credit reports in violation of 15 U.S.C. § 1681s-2(b).
                                                                                              the
          34. Equifax failed to delete information found to be inaccurate, reinserted

             information without following the FCRA, or failed to properly investigate

             Plaintiff's disputes.

          35. Equifax failed to maintain and failed to follow reasonable procedures to assure

             maximum possible accuracy of Plaintiff's credit reports, concerning the account

              in question, thus violating 15 U.S.C. § 1681e(b).

          36.As a result of the above violations of the FCRA, Plaintiff suffered actual

              damages in one or more of the following categories: lower credit score, lower

              credit capacity, denial of credit, embarrassment and emotional distress caused by


                                                3
    Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.17 Filed 10/25/23 Page 11 of 24
                                          I
.   .                                ~




                   the inability to obtain: financing for everyday expenses, rejection of credit card

                   application, higher interest rates on loan offers that would otherwise be

                   affordable, and other damages that may be ascertained at a later date.

               37. As a result of the above violations of the FCRA, Defendants are liable to

                   Plaintiff for actual damages, punitive damages, statutory damages, attorneys'

                   fees and costs:

                                         PRAYER FOR RELIEF

               WHEREFORE, Plaintiff demands that judgment be entered against Defendants as

        follows:

               1. That judgment be entered. against Defendants for actual damages
                  pursuant to 15 U..S.C. § 1681n, or altematively, 15 U.S.C. § 1681o;

               2. That judgment be entered against Defendants for punitive damages
                  pursuant to 15 U.'S.C. § 1681n;

               3. That the Court award .costs and reasonable attorneys' fees pursuant to 15
                  U.S.C. § 1681n, or alternatively, 15 U.S:C. ;§ 1681o;

               4. That the Court grant such other and further relief as may be just and
                  proper.




                     [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                                      7
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.18 Filed 10/25/23 Page 12 of 24




                                 DEMAND FOR JURY TRIAL

           Pursuant to Mich. Ct. R. 2.508, Plaintiff demands a trial by jury in this action of all

   issues so triable.

   Dated: August 4, 2023
          Farmington Hills, MI


                                   Law Offices of Robert S. Gitmeid & Associates, PLLC



                                        n l~~
                                   Jergiifer Paillon, Esq. (P80284)
                                   30790 Valley Drive
                                   Farmington Hills, MI 48334
                                   Tel: (734) 904-9522
                                   Fax: (734) 547-6166
                                   Email: Jennifer.P@gitmeidlaw.com
                                   Attorneysfor Plafntiff Daane Babcock




                                                   8
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.19 Filed 10/25/23 Page 13 of 24




                       EXHIBIT A
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.20 Filed 10/25/23 Page 14 of 24
              w{,Yltl rH!'su
              N9777-112LL    r
                  PO Box 5104
                  sioux rtdls, 8D 57117-5104




 Jul,y 24, 2021


       CRAIG BABCOCK
       DIANE BABCOCK




  Subject: Confirmation of Settlement'Agreemefit Terms for Account Ending In: 5ai3=' %

  Dear CR.AIG BABCOCK and DTANE BABCOCR:
   l              t    oti  i of a change in the terms of your Wells Fargo account referenced above.
                             acting on your behalf, has agreed to a settlement of your entire obligation
  on the account. We are sending you this letter to make sure you know what the terms of that settlement
  are.

  PLEASE UNDERSTAND THAT THIS If.ETTER IS BEING SENT FOR INFORMATIONAL
  PURPOSES ONY.Y, AND IS NOT A REQUEST OR DEMAND FOR PAYMENT OF YOUR
  ACCOUNT, ORAN ATTEMPT TO COLLECT A DEBT FROM YOU.

                                as agreed that you wlll pay $449-14 in order to satisfy your entire obligation
  for the account. This is 40.00096 of the current balance on the account. We have agreed to the terins of
  this settlement.
  Amount and timing of settlement payment or payments:
  Settlement Payment: $i5.00 to be paid no later than o7/3o/2o2i.
  Settlement Payment: $15.00 to be pald no later than o8/3o/2o2i.
  Settlement Payment: $i5.00 to be paid no later than 09/30/2021.
  Settlement-Payment: $15.00 to be"paidllo later'than 10/30/2021.
  Sett.lement Payznent: $i5.00 to be paid no later than 11/30/2021.
  Settlement Payment: $x5.00 to be paidno later than 12/30/2021.
  Settlement Payinent: $32.65 to be paid no later than 01130/2022.
  Settlement Payment: $32.65 to be paid no later than 02/28/2022.
  Settlement Payment: $32.65 to be paid no later than 03/30/2022.
  Settlement Payinent: $32•65 to be paidno laterthan 04/30/2022,
  Settlement Payment: $32.65 to be paid no later than 05/30/2022.
  Settlement Payment: $32.65 to be paidno later than 06/30/2022.
  Settlement Payment: $32.65 to be paid no later than 07130/2022.
  Settlement Payment: $32.65 to be paid no later than 08/30/2022.
  Settlement Payment: $32.6,5 to be paid no later than 09/30/2022.
  Sett2ement Payment: $32•65 to be paid no later than 10/30/2022.
  Settlement Payment: $32.64 to be pafd no later than 11/30/2022.




  RDSCSYF (o2/2oa.l)
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.21 Filed 10/25/23 Page 15 of 24




                       EXHIBIT B
              Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.22 Filed 10/25/23 Page 16 of 24


FILE #                                      IMPOW FNMA #                                             D"ATE COMPLETED      1112/2023        RQD' BY

SEND TO                                                                                              DATE ORDERED         1/12/2023
                                                                                                     REPOSITORIES'        TU               PRPD' BY
                                                                                                     PRICE                                 LOAN TYPE
                                                                                                     REF. #

PROPERTY ADDItESS
                                                APPLICANT                                                                        CO-APPLICANT

APPLICANT                                   BABCOCK, CRAIG L                                         Co-APPUCANT           BABCOCK, DIANE M
                                                                    DOB                              SOC SEC #                                        DOB ~
SOC SEC #
MARITAL.STATUS                                                                                       DEPENDENTS




                                                                                  r.C1l t F!'Tt(1H7 errflrltJT.q

     W                                                                        1~ATE        HI~aH CRED       BALANCE                                                      STA7US
                                                                             aPENED           .OR LIMITtT                 PAST        MO             b0 90t
 C                ~                               ~         r.[     pATE                                                                     30                      ~
 E 0'                         CREDITOR                . .         REPQRTED                '        =.                     DUE       REV
                                                                                                                                                                         SQURCf=
 O.                                                                                         ;ACCTTYF't=,      JERMS' i;
 q    E                                          ~                       :   _ r ,.DLA ,`


                                                                   04/21      01/15              $8000           $1122     '$1122     00      -      -       -   CHARGE OFF
 J J iNF B/INI~ NA.                                                                                                   -                                          TU..
          ~                                                                   09/20                REV

          PROFIT AND LOSS WRITEOFF; SETTLED FOR LESS THAN FULL BALANCE




                                                                                                                                            ; . ..... ,. .. ..
              ~       ._........ ...._.._                                                                                                                        ;




                                                                                                                                IZED USER; P=PARTICIPANT; S=CO-SIGNER;
     ECOA KEY:.              B=BORROWER; C=CO-BORROWER; J=JOINT; U=UNDESIGNATED; A=AUTHOR
                             M=MAKER; X=DECEASED; 1=1NDIVIDUAL; T=TERMINATED
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.23 Filed 10/25/23 Page 17 of 24




                       EXHIBIT C
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.24 Filed 10/25/23 Page 18 of 24




                                                                  J.
                                                      The. Law Offices of
                                 ROBERT S. GITMEID & ASSOC., PLLC

  June 20, 2023

  VIA CERTIFIED MAIL
  Transuriion ConsumerSolutions                               Equifax Information Services,.LLC
  P.U. Box 2000                                               P.O. Box 740256,
  Chester, PA 19016                                           Atlanta, GA 30374-0256

  Experian
  P.O. Box 4500
  Allen, TX 75013




                                 Re:                             Craig Babcock and Diane Babcoek
                                 Creditor:                       Wells Fargo Bank, National Association
                                 Account No.:                    Ending in 5213
                                 SSN:                            End'ing in
                                 SSN:                            Endin in
                                 Address:



  Dear Sir and%r Madam,
                                                                                       Babcock and Diane Babcock with respect to their
              Please be'.advised that this office was retained to represent Craig
                                                                   15. U.S:C.  §  1681, et seq. (the "FCRA") and other claims related to
   claims for violations under, the Fair Credit Reporting Act,
   unlawful credit reporting practices.
                                                                                        Fargo Bank, N.A. ("Wells Fargo") entered into a
              On or about July 24,.2021, Mr. Babcock, Mrs. Babcock, and Wells
                                                                A.       of the settleme nt agreement is attached herein for your review.
   settlement agreement for the above-referenced account. copy
                                                                            required to make monthly payments totaling $449.14 to settle
   Pursuant to the terms of the settlement, Mr. and Mrs. Babcock were
                                                                          their debt settlement representative, timely made the requisite
   and close their Wells Fargo account. Mr. and Mrs. Babcock, via
   settlemetit payments.
                                                                                                 be negatively reported. In particular, on a
              However, many months later, Mr, and Mrs. Babcock's account continues to                    with a status of "CHARGE OFF",
                                                                              k's account  was reported
   requested credit report dated. January 12, 2023, Mr. and Ivirs. Babcoc
                                                                                      portion of Mr. and Mrs. Babcock's credit report is
   a balance of $1,122.00 and a past due balance of $1,122.00. The relevant evidenced by the enclosed documents, the acaount
                                                                                   . As
   attached herein for your review. The trade line was inaccurately reported
   was settled in full and has a balance of $0.00.
                                                                                             under the FCRA. Therefore, ifthis inaccuracy
               Please take notice thatthis dispu"te, is made pursuant to 15 U.S.C. § 1,681i
                                                                                        behalf of our client.
    is not corrected within, thirty (30) days, we will puncue further legal
                                                                            process  on

              Thank you for yourprompt attention to this important matter.                       Very truly yours,

                                                                                                 Ivlelissa Rodriguez
                                                                                                 Paralegal
                                                                                                 The Law Offices of Robert S. Gitmeid
                                                                                                 & Associates, PLLC
                                                                                                 Mclissa.R a.eitmcidlaw.com
                                                                                                 (866)249=1137




                                         30 Wall Stxeet, 8'"i Floor #741, New York, NY 10005              Fax (877) 366•4747
               Tel (866) 249-1137
                                                        www.Gitmeidl,aw.com
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.25 Filed 10/25/23 Page 19 of 24
                     n+elw caigyv nunK, Jv.r . Y
                     N9777-1t2LL
                     PO Box 6104
                     8ioux Ihills, SD 591i7-5to4




     JuIy 24, 2021


         CRA1G BABCOCK
         DIANE BABCOCK
~'




     Subjeat: Coafirmation of SettlementAgreemedt Tersns for Account Faading In: 5213=' :.         •

     Dear CRAtG BABCOCK and DXANS BABCOCIt:
         are   '     o oti ►   i of a change in the terms of your Wells Fargo account referenced above.
                                acHng on your bEhalf, has agreed to a settlement of your entire obligation
                                                                                             that settlement
     on the account. We are sending you this letter to make sure you lmow what the terms of
     are.
                                                                      TIONAL
     P><.EASE UNDERSTAND THAT TE[IS LETTER IS BEING SENT FOR'INFURMA
                                                                 NT OF YOZTR
     PURPOSES ONLY, A1ti1D IS NOT A REQUEST OR DEMAND FOR PAYME
     ACCOUNT, ORAN ATTET4!iPT TO COLI.LrCT A DEBT FROM YOU.

                                   as agreed that you wlll pay $449.14 in order to satisfy yotir entire obligation
                                                                                                 to the terms of
     for the account. Tbis is qo.000% of the current balance on the account. We yave agreed
     this settlement.
     Amount and timing of settlement payment or payments:
     Settlement Payment: $i5.00 to bepaid no later than 07130/2021.
     Settlement Payment: $15.00 to be paid no later than o8/3o/2o2i.
     Settlement Payment: $15.00 to be paid no tater than 09/30/2021.
     Settlement•Paqment: $15.00 to bepaidno laterilian 10/30/2021.
     Settlement.Payinent: $15.00 to be pald nQ later than il/3o/2021.
     Settlement Payment: $x5•oo to bepaidno'laterthan 12/30/2021.
     SetClement Payment: $32.65 to be paid no later than 01/30/2022.
     Settiement Payment: $32.65 to be paid no later than 02/28/2022.
     Settlement Payment: $32.65 to be paidno laterthan 03/30/2022.
     Settlement Payment: $82.65 to be paid no later than 04/30/1022.
     Settlement Payment: $32.65 to be paid no later than 05/30/2022.
     Settlement Payment: $32.65 to be paidno laterthan o6/30/2022.
     Settlement Payment: $32.65 to be paid no later than 07/30/2022.
     Settlement Payment: $32•65 to be paid no later than o8/3o/2o22.
     Settlement Payment: $32.65 to be paid no later than o,g/3o/2022.
     Settlement Payment: $32.65 to be paidno later than 10/30/2022.
     Setdement Payment: $32.64 to be paid no later than ii/3o/2022.




     ItDSCSYI'+ (02/2021)
            Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.26 Filed 10/25/23 Page 20 of 24


FILE #               NOMMOW FNMA #.                                 DATE COMPLETED       1/12/2023'       RQD' BY
SEND TO                                                            DATE ORDERED          1/12/2023
                                                                    REPOSITORIES         TU               PRPD' BY
                                                                    PRICE                                 LOAN TYPE
                                                                    REF. #
PROPERTY ADDRESS
                         APPL(CANT                                                           CO-APPLICANT
APPLICANT            BABCO.CK, CRAIG L                              CO-APPLICANT          BABCOCK, t31ANE M
SOC SEC #                               DOB                         SOC SEC #                                       DOB ~
MARITAL STATUS                                                      DEPENDENTS




                                                   COLLECTION ACCOUNTS
                                  3             DATE ,   HIGH'CREDIT "                                                              STATUS
  E N                                          pPENED      OR,L`lNfIT_ „ , BALANCE       pAST       MO
  C O                           7•      DATE                                                               aa 1" 6o   sa+.
  O s            CREDITOR ~           REPORTED                                           DUE        REV
•                                                                                                                                   $OURCE
:q ~                      ~                     DLA      ~.ACCTTYPE . . - 1`ERMS, :. ~          ~


    J WF BANK. NA                      04/21   01/15           $8000          $1122       $1122      00     -    -     -     CHARGE OFF
        ~                                       09120            REV                 -                                       TU",

         PROFIT AND LOSS WRITEOFF;: SETTLED FOR LESS THAN FULL BALANCE




  ECOA KEY:      B=BORROYVER; C=CO-BORROWER; J=JOINT; U=UNDESIGNATED; A=AUTHORfZED USER; P=PARTICIPANT; S=CO-SIGNER;
                 M=MAKER; X=DECEASED; t=1NDIViDUAL; T=TERMINATED
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.27 Filed 10/25/23 Page 21 of 24




                       EXHIBIT D
Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.28 Filed 10/25/23 Page 22 of 24


                                                               Prp4rdCilhy EQUlYAIC
 Credit report




 Per.sonal infio
                                                                         Q'tTk1aMiOd
 ~R2.pCrled a£tFf.CS'      Diane M B7bcack   /tttdrC>as99

                           -
                               _

 (59O                              _

 SSN                           ~

 EmP~+I'mantiol.si




  Account summary




   Accounts
                                                               Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.29 Filed 10/25/23 Page 23 of 24
                                               _

'':r, ° m                                 ~                                                                                                                                                                                                                                                     ~                                                           ~               ,                                                                        a                                                                                                                                                                                                                                                                                                                                                                                                                                          ~




                                                                                                                                                                                         e           •                                                                              .                                                                                                                                                °                           .~                             ,                                         .                                   °                          ~.                  ~
                °~~                                    ,~i~                                                   °.                                                                                                                                                                                                                                   .                                                            n                                                                                                                                         °                                                                                                                                                                                                                                                                                                .                            °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            e
        a~-                   .                '               ~                ~                                                                                                            .                                        `                   .                                 `                                                                                                                                                            .               o                                       '                                                                                                                                       e



        o                                                                                                                                        ,
~~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            °
~.x~~°~                                                                •                                                                                                                                                                 ,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  °




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             e                                                                .                                    ,               ,                                                                                                                                        °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ,                                                                                                                                                                                                                                                                                                                                                                     qjv
            ,     ,,m                          .               .                                             .                 „.                                            ~                                                        ~                                                                                           .A                                                                                                                             .
~                                                                                                                                                                                                                                                                                                                                                                   ,                                                                                                                                                                                                                                                                                                                                                                                   .                                                                                                   ,                                           -
s~~..                                  6                                            ,                                              4                                         ~                                                                                                                                                                                                                                                                                               •                                                                        .                                    ~                                                                                                                                                                                                                                                 b             .                                            ,

.m e                                           .                   °                                              °                .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .                                                                                            ~                                                          .

+°.               ,               ,                .                                                          .                .                                                                                                                                                            ,                                                                                                                                                                                                                    ,                            ,                                                                                                          .                                                                                              .                                                                                            °°            .           ~                        ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                _
5 F~            ~~. a                                              ,                •                                                        .                                                                           ,                •                                °                                              -            ^                                                        ,                                                                                                   ,                .                                                    •                                                                          ,                                                                                                                  ,                                                                            .                     p                            .


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .           .,
                                                                                                                                                                                                                                                                                                                                  a                                     '                                                                  P
5e                    a               <            `                           <.                                 "                              ~"              S.a                                     .                            a . .                                                                                                            ..                                                                                 = ..                               a                                                            `                   o                                                                                      .                                     .°                                                       .                                               ~` f'           b,                                   ° y, a                     a               m a`.s
            e                                                                                                          .                                                                                                      °                                                                                                                                                                                 .                                                                                                            F                                                                                   °                                                                                                         °                                                °
~EYPCSv."'e                                                                             °                     e            °~ .                      .               o               ~ n                                                                                                        ..                                                              •                           .                                                    ~.                                    ~~               s                                 `                                                          a               ,                               n                                                 o                                                                .                   a          °                        .                    "             .        c°                  .       .
                                                   +                                                                                                                                                                                                                   o
~ °q                                                                       ~                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,                                                                                                                                 .                                                              s
                                                               ~                                                                                                                                                                                                                                                                                                    °                                                                                                                                                ,                                                             „                                                                                                                       ,                                                                                ....
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               a                                                                                        ~•                                                                  ~ 9
 }~~~            ~~~ ,                                             .                            ,             ,                                                                      •                       °               ,            ~.                                                                                                                                                °                       a                    ° .
                                       ~                   a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               °                                                                                                                                                                                                                ~
                                               °                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           °
 ' ~.~ ~                                                                                                                                                                                                                                                                                         _                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                               °                            :                                                                                            ,         y                                         .                                                                                       .                                                                                                                                                                                 a                                                                                                ~,
 ~:;~id'~"~ ° °                                                        °                .                         a                ~         °                                                                                                    ~                                                                                                                                                                                                                                                 ,                                                                                                                                                                                                                                      °                                                                                °
                                           .                                                                                                                                                     ,
                                                                                                                                                                 o
                                                                                                                                                                                                 =6
                                                                                                                                                 °
                                               o, ~w                                                             °°°                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       'e                                                           v.
 ~~~ ~~              °L
                                                                                            n
                                                                                                                                                                     e                                                               .,n              n,                   °                ` e                                   °'            ~°                                              °           '                                         2                      0                      ,4               9            ,           .               4~0                  ~                a~                                           -       ° §                                                       ~                       °                        .~ .,                                                   ~                    .        ,°           "                    ,               ~~gg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   P
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
     y ~~y            s                                                                      o ..                 '*                                                                                                                                                                                          .                    &'                  ..                                                                                                                <                ,                                                   '
   • a7~ :~.~.e ,S~r                                                                                                                        x';.                  eP~°               .                           . ,.                         ,               .        '        >,          .                                                                   a                           m.                                           ,           •                                                                                                                                                   ^                                                                                                             a                                                                                                                     ,                                          °
 ;Y R,i                                                                                                                                                                                                                                                            .                                                  .
                                                                                                                           e ,                           q                                                        ,:                 e                                                                                                                                                                                                                   ,                                     ,                                                                              ..                                         °               .                   .                    ..                                                   a                ,                                   .           ..                      °                          c                                o,                  ° .
                                  ¢•                                                                                                                                                                                                                                                                                                                                                                ,                        .               .                                                                           .
                                                                                                                                             =                                                                                                                                                                                                                                                                                                                                                                                                                                                           ~                                                                                                         ~~
                . »                                    `                                                                                                          °                          °                                                                                                                                                                                                                                                                                                                   °                                                                                                                                                                                                                                                                                    ¢m                                         °
    t                                                                                           a                                                                            6                                   L                                .                                                                                                                                                                                                                                                                                                                                                                                                                   o                                                                                                                                                                                                °       .                                    a•
        ~~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ¢               ¢                                          °°                                                      V
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     °°~.
                                                                                                                                                                                                                                                      a                        "                          0               °           ..           y                        ~                   .,~                 °.°                          i                   4'                        ~,                            °' r             u               ,                                                                                                   .                                d           o                       ¢                                            °                                                                           °               e
    ~~~                                            '                                                              v                    "         "                                               ~P>                                          o                                                                                                                                                                                                                                                                                                                                    a                                                                                                                                                                                                                                                                                                    °~

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .                   m .                      ,°                                                                                                                  e           '                     y
                                                                                                                                                                                                                                      '`o e .                     ~                                                                            > ar ~y .                                                                                                                                   °            .. o                                                                                                                                                              p                                                                                                                                                                                                ~
    ~; bP~
            <
                                  a ~                                                   x           ..                     y                n Y                                                  g
                                                                                                                                                                                                         a
                                                                                                                                                                                                                                 Y                                                                   tl
                                                                                                                                                                                                                                                                                                              n°                                                                v            ..                         °+                           p
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         oa                   ¢g                       ~           e                 °               a               `               4                                                     x                                                                                           •                                                                                W                   °
                                                                                                                                                                                                                                                                               fi
    ~,~A rt                       ..                                                    e               '                                    san                             a                           .               '~                               .       .            x        ~                                                  •           t , •                                                    ,                                    ~                                 ,                         >                                                                                                                                                                                                                                 °            '           .               .                  ,                    _                      ~               "°                           ~           o.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,.                       ~                     `~                                                       °                    .                                                                                                                                                                                        °a



        ~ sp~~;                                                                     a                .:°                                             '           .           °~                  ®                                                    •            '            ,                                     8                .                                    p                   °                       ~                                    ,                    o                     •        a                °           .                                                              ..,~                                                         °,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         nV
                                                                                                                                                                                                                                                                                                     S                                                                                                                                                                                                                                                                                                                           v                                                                                 a                                                        n
                                                                                                                                                                                                                                                                                                                                                            a
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    N                         e                                                                                                                                                                                                v                   ='                                       °°         ~            ~ •y
    {•                                     ,                     .                                                    .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        °                                                                                                                                             e                 °            e                   v               .r w
                                                               ,~3~                                                                                                              -               ,e                                                               .~           ..       °                             <.                                                                .               ,                                                                m                                           , .                                               .                    a                e           B                                            ,                                            r               ,                                    °                       ,                       .
        f~RE'6)                                ~#° e                                    "           ~                                   ° m                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      #
                          .                                                    I=                   ~°                                 .                                 ,                       a                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     3               .                            _                                 m                     ,                                          m                                            •~
                                                                                                                      a
                                                                                                                                                                                                                                                                                   ,.               ~°                        .~. ~                                         ,               ,,                                                    °              .,                        '       °                     ' '                                  °• ~                                                                               ° Q                                       .                                                                                    °
    1>~,'~                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                            ~
                                                                                                                                                                                                                                                                                                                                       ,°                       .                           oa                                   ~f
                                                                                                                                                                                                                                                                                                                                                                                                                                 ,                                   ~~                         °                        ~                ~°,.                         e                                                 °                                                _                °•                      o.                      '.
                                                                                                                                                                                                                                                                                                ,                                                                                                                                                                                                                                                                                                                                        ~                                                                                                                                  v
                                                                                                                                                                                                                                                                           m n                                                                                                                                                                                                                                                                                                         v                                                                                                                                                                                                =n                 9
        ~4~i                                                                                                                                                                 o~n e                               0. a `                                                                                                                                                         °                   m
                              ~                4~                                                   9         .. s                      '        p                                                                                                                                                    e                                                                                                                 ¢                                                                                                y                                                                                           w                                        n                                                                                                                                                                                             oa                                                  e`~'~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    o                                              °

                                          W~                                            .5           +X                                                                              . r.                                                 ~~                                   ;                                      °                            ~ '
                                                                                                                                                                                                                                                                                            '                     '           .+                                                            ~                                                                                                                .. ,                                 •               °.               s v                   ~                                                            v                                                                                                                                                                                                                                                  .
                                                                                             'v                                                                                                                                                                                                                                                                                                                                      °.                  `                                                                                                                                                                                                                                                                                                                                            awee~.°
                                                                                                                                                                                                                                                  r`3                                                                                                                                                                                                                °            .                                                   e                                                                                                                  '                    '            .                   '6                  "''                                  6               v                                                                                                                       a
        ~            $                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        e                .                                                                 a                                                                                                                                                                                           °
                 ~ a p.58 •             .•                                                                                                                                       ~a ..~                                                                                                                                                                 ~                                                                                                                                                                           ' ^ .                                                           ~ «:                                                  _                                                                         ~:
                ~~       ~.       ~                                    -                                                               .a:~
                                                                                                                                         ._.
                                                                                                                                                                     .
                                                                                                                                                                                      .
                                                                                                                                                                                                                                              . ,~
                                                                                                                                                                                                                                                 =a n                               ~                         ,                   a'                                                    .                                                                                    .     q               < .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                `'~e~                            ~ ~~,.                                                                                                                                                                                                            .P~                      .                                           ''                                                 ,                                ` n9,!
                      .            s •                                                                                                                                                                                                                                                                                                                                                                                                                                                                .                                                                                                                                                                                                                            ~
                 ~,~+~
                +VS,.}.i ~'~ ~er~.6='~^ ~ .                                                                                            °         .           .                   ..                          .. _ ,.n.                                ~ ._                 a                _             .                                `                                                                                                                                                                • ~°                                                                                                                                                                                                                                                                        -




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   _...                                                     .
                                                                                                                                                                  . r~                                                                                                                                                                                                                                                                                                                                                                                                                                               ..                                                                ,                                                                                            _
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 0'~2               ,                .                °       a                                                     '~                                       ,       ,                    .                            °                .                                                       .                                  .~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   °




                                                                                                                                                                                                                                                      °                %                                                                                    =           F                                                   .~                                                                     x         ,                                                                                       ~
                                                                                                     ~                                                           ~




                                                                                                     °                                       ,~                  .°          ~                       ° '                                              . ,              ,            °           .             ,               '                .                                    ..                          ;                '                                                    s                                                               ~               °                                                              .                   s~„ °,                                .               '                       s            °

                                                                                                            . ,                gr`               ,.                                              „               ,                                    .m           ~                            .                                  ,                    •                                                                        .                                                                 ~ ..                                   _                       .                                 '`                                           .            ,                            e                       ,                   ~^               °                                                          ,F
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,
                                                                                                              . .                                                                                                                                                          .                         '                                                                                  _w                      ,                                                                     .                                                                                        .~                                                                    3                                     a                                                                            > ..>                              ~
                                                                                                                                   ..                                         °                                                                                                                                                                        e                                                                                                                                                         ~           , " f                        . .                                                                        ,
                                                                                                                                                 a°                                                                  .                .           ~
                                                                                                                                                                                                                                                                           .        '                                                                                   >               ~z.,.                                                                                                       '                                                                                      *

                                                                                                                                                                                                                                                          ,                                     .                                                                                                                                                                                                                        .r;a,~               * ~t~"~ ~^'                              ~                         _ ~                                                      '                                    .
                                                                                                                                                                                                                                                                                                                                                                    °               '                   .~ .                     .                                                        -
                                        Case 1:23-cv-12713-TLL-PTM ECF No. 1-1, PageID.30 Filed 10/25/23 Page 24 of 24




                                            .                                        •                         ~                                     .                                                                                                                                                                                                    .                                .°                      ,               • a-                                                                                                              .                            .°                                      . °                                                                                                          •               .                     o                                                 ,                   u                       °                •,
                                                                                                   ,                                                                                                       +                                                                                                                             .                                                                                                                                                          •                                                                                                                                                          _                                                  .,                                                                                      +
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         {                               ~,                                                                                                                                                                                                                                                        .                                                                     •
                               °        ~                                                                                                                                                                                    ° .°                                                                                                                                                                                                                                                           ,~ . .                                                                                                                        .                           •6~.. y~                                   .                    4. a                                               ~                       °°,                          °                                        ~,                                f~
                                                                                                                                                                                                            °                                            .                             _                •                                                                                                                                                                                                                                                                                                                                 a•
                                                                                                                                                                       °                                                                                                                                                                                                                                                                        a               "•                      .. . _                                                           "           •
                                                                     ~                                     ~
~.                                 ~ ~ ~~




                                                                                                                            ,a                                                                                                      °                                          .                            a                                                     .                            ,            ,                                                                           .                                                                                                                                             r               °                                              •                                                                           °                           °                °                    .                                    °
~`               °                                      °~                                             °                                                       °                                                        °                                                                                                            ,                                                                                                                                                                                                                                                                            ,

       ,     ,                                                                                                                                                                                                                                                                                                                                                                ° +                                                                                                   •                                                                                                                                                                                                                                                                                                                                                                          ,                                                  ,
                       °,                               •            . `,                              a               ~ ,                           ~ • ~a                                                     .                        -                       °                                  ,

~•~a.°                                       .              °                                              .                                                                       ,                                                                                                                                                                                                                                                                                                                                                         .                                                                                                                                                                                                                                                                                                                                                                         °




~~•                    ~~'                  ®           °                                                                                                                                                                                            .           °_                                                                      +                                                     .•                                                                       .                                                   .                        ~                   "                 ~                      °               ,                                 + ~                                                                                    •                 ~                                   . ,w                                  a                       •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                                              ~
                                                n                                                          °°                                             °                                            -9,                                                                                                                                                                                                                                                                                                                                                                                      °                                                         ~                                               °
 ••, °                                                                   ,                                                                                                                                                                                                                                                                                                                     ,



'"~.                       x                                         .                    + ~                                •                   a                         o                           °                            •                                                                           °                                . .                                                                                        .                                                                                                    "                                                                                                                                                   ,                                                                       .               °                        •                                                •                        °                              ~

                                                                                                                                                                                                                                                                                                                                                             ° °`                                                                                                                                                                                                                  ~                                                                                                                                           ,•                              .+           ~``                    °                                                                                                                  ~e-.
~fa" -                         s                                                                                            °"               .                                 +                                . ,- °                                               "             ~_                       , + °                                    ,                                                                                      `                                                                                                                            `                                                                    •                                                                                                                                                         "
                                                                                                                                                                                                                                                                                                                                                                                                                                                                .                                                                                                                                                                                                             •                                                                                                                              .           . ,~
            7.aa                            •                                    .                                                   °                             •                   °               „                        .            ~                                                      °                                                                                      .                                                                                                                                                      y                                                                                                                         , .>                                  ,                                        „                                     'ia:. ,~' , .a.° ` ~F. . , aw                                                                                        ': °,3
                                                                                                                                                                                                                                                                                                                                                                 o                                                                                                                                                                                                                             9                                                       g                                                                                                                             ,

 • ~                    °               - ... ~                                                                                      ,               °                         y                           °                                                                                        a .                              °                            ,                        °                           e"                   v                               ~                                                                        ~                   v                                                                                     °                     °8                                   ,~'                          f                                                                 °                 ,       6                                                             ~ .ix
                                                                                                                                                                                   '                                                                                                                                                                                                                                                                                                            °                                                                                                                             °           v                                                                                                                              9                                   v

                                   +~' .                    .~.                      °                                                                                                                                                                                                                                                       °, °                                                                                                                                                                                                                                                            .                                    ,       ,                                               .                    ,                       '°                    "~                                           °                                                             ~ ,                                a,~S
     °.~.                                                                                                                                                      •                                       .,                   , et ~ .                                                                        +° °                                                                                           e                                                     + ,                                        °                    ,                       ,                         ,                                                                                                    °                                                  ,                                                                                                       -.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 . ..                                                                                                                                                °                                         "
r~a.                       ~                 ,              °g                                 , , °                                             _                         -
                                                                                                                                                                                                                                °
                                                                                                                                                                                                                                                                                                                                                          ,                                    °,                                                                   .                               .               . °                                                  ,             ,                     ,                • •                                                        +                                                                          °                                                              ..                                                   e
•• °...,
      ..
                                        .                                    .                                                                                                                                                                                                                                                                                                                                                                                          °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
 °                                  °                                    °                                                                                     °                                       .                    •                                                      .                                        °                                                                                                                                                                                                                                                                                     a                   ^                                                     "                     .        °                       .                         ,                            .                                        ,. ,..                                                                  „

                                                                             ,_           _,                                                                                                                                                                             '                          •                                                                                                                                                                                                                           - °                                                                                               .               °                         °                                 .                                                                  ,                                   °                                         .           .            . ,                      °,~ ~
 ~~~°                          .        °               ~~                                                                   ,           °~~                           .,                                                       °                        °                                                              •                                                                  w                               ~                                                                                                                                 °
                                                                                                                                                                                                       ,
                     s+'y,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .                                                           `                        e                ..                        .                                                         ,
 '7r~P4                                                                                                    °                     •                                     ¢                   '                                                                 '           '                          .                           .                             .                        °~                   •                       .           `                                                               .                "                                                                                                                                                                                                                             ..                                                    :..               `           +                       °                                                      P
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                °°
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              °                .                                                  °
 P~ F~N`.                      °        . . .               ..                   .. ° ,.. "                                  ~°                  v°.°
                                                                                                                                                                       ge" Q                                        ,                                                                                                       <            °                   4                     '                                                                        °                                   ,                       •                         ° P                    ,e                                 • .°                                                                                                               ,.                                   .° ~                 °               `               °o                            a                                    "                    ,         .
                                                                                     °                                                                                                                                          °                                                  °                                                                                                                                   °                                                    •

 !~         ~              ~f                                                                  wm                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,               <                                °                ..                               -            .       +                       ~                    8`
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       °°
                                                                             °•                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 =o
                               e                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  °           °               °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   °°
           :.•                     ,a^                  i                                      v . ..°~                                          ..            • ,
                                                                                                                                                                 -                                 +                u4
                                                                                                                                                                                                                                r                " °_ {
                                                                                                                                                                                                                                                                                           .                    y
                                                                                                                                                                                                                                                                                                                                     °•                                                ev °
                                                                                                                                                                                                                                                                                                                                                                                       t                           ..                               °           v°                                      °                       ",                   e                                                                                    °                e                                                                                                   .                                                              ~n .,                                                                      '
                                                                                                                                                                                                                                                                                                                                                         °                                                                                                                                                      •                                                                                                                                                                                                                                                            ° °                 +                                                                             aE       - m                                    ' "[
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .                                 •                                 °•                                                                                                  .°
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                                                                                                                                v
           ~'~"+~•°                         °                    ^                   .             . °~`                                 w                             n                                        q                                °                           . ,.                           ^                                                                                          '                                                        .               '                       .                                                                °                 ,.               °•                                        n                                              4                                                                                                                                                                                              °
                                                                                                                                                          °                                                                         .,                                                                                          v
                                                                                                                                                                                                                                                                                                                                                              •                                                                                 .                                                                                                                                                                                     a                                                                                                                                 °                                                                              9

 1 : e                         .                                 .           .                                              ,°                                                                                                                                                                                                                                                                         •                                                                                                                                                                                                                                                                                                                                                   a
                                                                                                                                                                                                                                                                                                                                                                                                                   ..                                               .                                                       ._                                                                  s                                     ~                                 s                •                                                                          °e                                                    i
 .•i~~•                                     •w          "                        .                                           ax                  ,            .,                                       $:                           °            '                                 `
                                                                                                                                                                                                                                                                                                                                                                                               e
                                                                                                                                                                                                                                                                                                                                                                                                                                        +°                                                  •                                                    "               °            p                                                                                                                                                                                                                      "                                                                         °                    °                          ° b~~
                       .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      •                    o                                                                                          •
                                                                                                                                                                                                                                                                                                                V                                                                                                                                                                                                                                                                                        v                                                                                                                                                                   °
                                                                                                                                                                                                                                                                                                .                                                                                                                                                                                                                                                                                                            hr
  }i~yfe.6~.a'f~.•Y' `r~.°v                                                               ~ q`~>As'^~s°
                                                                                         °5                                                           Y                "((°                            eP~" a.g~°'4                                                  °             a                                                     °
                                                                                                                                                                                                                                                                                                                                                                 e                         e°                          '                                            °                                                       va           .           a                       °                      .                                 , v                                                    -                °                                                                                      .               v                             °               °                                                  ..,        @
                   °                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    °
  ~~,~}
  Y                            ~"'                               e                         '~,,                              °„                                            ~                                                        ",                                        ~                                                                                            °                   ,                               * °.,                            _ _                         ¢                                                        e                                     •                  ;                               °                                 °                                                  ,           `                         °° °                                                 ..                   ,.°                                          °                . n,
                                             °                                                                                                                             e•                          ,e                                                                                                                            ,                                                                                                                                                                                                                                                                                                                                                                    n                                                                                                                                                                                                                            '.
                                 e                                            A                                                                   °,                                                                                                                                                                                                                                                                                                                                                        +                                                                                                         °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Y           ➢
  r~•                                               °/,                                                                      .                                                                                                                           °                                                                                                                                             °                                                            .                                   °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         v


                                                                                                                                                                                                                                                                                                                                                                          °                                ...                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .a   ,° •
                                                                                 .             ~
                                                                                                                       .
                                                                                                                                 v                   q § °.                                    ,                        e       `                                                           °               .                        °.                                                                                                 °               e               °                   °           °                   t                                                                  '             ..                   + ~                  ~aa                           °                        E           ° e                      °                                 .           ,               °                                                     °            °
       • • ~°                           °                        .                         ,                                                                                                                                                             "                                                   °                                                                                                         {°                                                                                           .               °                                s                 .                                                                 "                                                                                                                                                                                     -                                                     ° •
                                                                                                           °                                                                                                                                                                                                                                                          °                                                                                                                                                                                                                                           v                   P                                                                                                                                      °
  °~"1~ {            °f •.~ .                                                    a                                           8                       ry                                                                     ..                               °                                              °                                                                                                  °                    °` $ ,                                                                                  ..~ e                            .                `                                                           '                                             °°                °Y               ,               m                   "                                                              9                    g           ' . ..a                          F".°                 } •       • yi
                                                                                                                                                                                                                                                                                                                                                                                   "                                                                                q

  ~~                       'L               1+i ¢           g            Yg                        4~a4'~` v.y~                                           r            ep~r'                           b ,8'.•°                                                                                                                                                                    .                           a               $                            .a➢`v~ =°a~a                                                    .            °                                    °z                                                                                                                                                                                                                                                       ° .                             $ 98° . °g                                     ,~a`:.1
                                                                                                                                                                                                                                             .~                                                                         .° 1                              • '                                                                                                                                                                                                                          ~                          , °~ a s                             °                °        '                                                     e                                •® +                 °~                       ,
                                                                                                                                                                                                                                                                                                                                                                                                                                            A                                                                                                        •                                                  ~
                                                                                                                                             °,8

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       R.tA.:                                   `
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .°                                                                                                                                . °
  p ~.lr ~° ~~ -                                        ° ~~                      e                    °                                                           a e.                                                                                                  .             p                                                                                                                                                                                                                                             °            "                                        .                                                  .        °                    °
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           a                                                                                                                                °
                                                                                                                                                                                                           v                                                                                        °°                          .a           °            • e                  '                   v                       ~                °                                               .                       °                                                                                                                                                                                         p                                                                                                                                                                                                   :
  ? ~:.                 ~:o, °                      m       .;                                                                                                                                                                                                                                              ® .                                                           ,.                   -'                          '                                        °y                  .v,°                                     .•                          ..                    .               •.°
                                                                                                                           ° e$~                                                    °                  a°                   9 °.                                                                                                                                                                                                        °                                                                                                                                                                                         ' o
                                                                                                                                                                                   e                                                                                                       °•                                                                                                                                                                                                                                                                                                                    '¢                                                                                                                                                                                                                                v                   ,°                           v                 ~          ~'1
                                                                                                           e                                                                                                                                                                                                                                                                                                                                                                                                            R                            h
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .                                                                                             v               °° .                                              ..
                                   h                                 °nie                                                                                                                                                                                                                                                                                                                                                                           •                                                                                                                                                                                                                                                     °
                                                                                                                                                                           ~                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    e                                                                                                    v                                                                                     .                                 °                     i

                                                                                                                                                                                                                                                                                                                                                                                                                                   . ~~                                 °                   ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    . ~°                                             ,~a+ _
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ~            e
  ~~ ~    '~                                ~ °                              h                     .                         ~~~~° ~,                                  •~~                                                                                                                          ~, .                                     °                       °                     ~ ° '                                                                                                                                                                                                                                      ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                °                        "•
   . y~
  ~)~.~~•                                                                                                                    S                   +e.
                                                                                                                                                  +                    o                                   'A                                                                td                                                                  °                        °°                                   .                                                    +                                                                                                                                                                                                                                                                                                                                                                                                                       °                P
                                                                                                                                                                                                                                                                     m                                                                                                                                                                                                                                                          °                    0,                                                      a                                                                  v                             +                °'              •                             °                                                     .           ..e :~°a
                                                                                                               °                                                                                                                                                                                                                                                                                                                                                                                                                                                                      •b
                                                                e                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    •                                                     n
       Y                                                                         e                 °               +                             .            ,                        °° °                                  :. °v ..,                                        ~*                                    . .                                                                        ~                                                b& .                                            a , -                            q                       ,                                         .,            ~.`                                                    .                                             °                                                     •                        +
                                                    P                                                                                                                                                                                                                                                                                                                                                          °                                                                                                                                                                                                                                                                     u                                                                                                                                    •                                                                 ,.                                     ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ~.°f,
  ~         g, m                                                         .           k                                 ..                ,            .                                                                                          °                   °                                                                                                                                                                                                                                                  `                                        F           °                                        _                                       a                 •                                                                          v°                °                                       u °                                   `                                        ~.
                           ,                            r                                                                                                                                  °                                                                                               °                        a                                            +         .                           °               °            ~ ~,` „                                                                                      - ,                                                                                                                                                                          •                    c                                                                                                                                                                                               c
                                                                                                                                                                                                                                                                                                                                                          °
                                                                                               °                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              •                                                                  4                                                                                                               v
                                                                                                                                                                                                                                    5° ° v+°,~
                                                                                                                                                                                                                                                                             rc. ". °                                                                                                                                                        ,                          "                                                   ff                                                    ~        °
                                                                                                                                                                   +                                                                                                                                                                                                                           ~''f                        ~~
  ~~ni {                           °°° ~ '°`°=                               4•                w                           • °                                                 ° 9                                                                                                                                                           o        .                                                                                                                                                                                                                                                      ° °~e' v °,                                  {                 °° °~                    °                                                             ° °"              "           +                            a                v               a           ~~ • °                                      '~ ° +
                                                                                                                                                 o                                                                                                                                                                                                   + t..                             A                                                                                                                                                                                                                                                                                                                                                                                                                         •
                           '                                                                                                                                                                                                •                                                                                                                    •
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        "+•

                           `                                                                                                 •                           .                                                          °                        •                                                                                  ?,                                                                             Y4                                .                                                                          e ~ ~ ro{- ^gti®                                                                                          ° .°                         ..               °      '                                                                                             +                                                             °                                                                           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ee                                                - `                           °                                                                                                                                                        °                                                  _~
     ~,,.. a           '..                   e          ~.                   .~                        ~ .                               _ __ • ..>.                                                                        .. ,                             .           _                                                               t                                                 . °11'~.:~r'Y.«.~.~r _ ~ °.                                                                                                           t'~i~e~~..
